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   14                       UNITED STATES DISTRICT COURT
   15
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
   16
   17                                              Case No.: 2:19-cv-03279-MEMF-AS
         LISA VARGAS,                          )
   18                                          )   [Hon. Maame Ewusi-Mensah
                                               )   Frimpong, United States District
   19                      Plaintiff               Judge]
                                               )
   20                v.                        )   JOINT STATEMENT OF THE
                                               )   CASE
   21
         COUNTY OF LOS ANGELES,                )
   22    NIKOLIS PEREZ, JONATHAN               )   Trial Date:    April 6, 2023
         ROJAS, and DOES 1 through 10,         )   Time:          8:00 a.m.
   23
         inclusive,                            )   Courtroom:     8B
   24                                          )
                           Defendants          )
   25
                                               )
   26
              TO HONORABLE COURT, ALL PARTIES AND TO THEIR
   27
        ATTORNEYS OF RECORD HEREIN:
   28
              COME NOW the parties and hereby submit this joint statement of the case.
                                            1
                               JOINT STATEMENT OF THE CASE
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    1                [PROPOSED] JOINT STATEMENT OF THE CASE
    2         This case involves a fatal deputy-involved shooting incident which occurred on
    3   August 12, 2018, at the Nueva Maravilla Housing Complex in East Los Angeles,
    4   California. On the morning of August 12, 2018, Los Angeles County Sheriff’s
    5   Department Deputies Jonathan Rojas and Nikolis Perez shot and killed Anthony
    6   Vargas.
    7         The Plaintiff is Lisa Vargas, the mother of Anthony Vargas. The defendants are
    8   the County of Los Angeles and Los Angeles County Sheriff’s Department Deputies
    9   Jonathan Rojas and Nikolis Perez.
   10         The Plaintiff claims that Deputies Jonathan Rojas and Nikolis Perez used
   11 excessive force against Anthony Vargas in violation of Anthony Vargas’
   12 constitutional rights. The Plaintiff also claims that Deputies Jonathan Rojas and
   13 Nikolis Perez committed assault and battery against Anthony Vargas, were negligent,
   14 and violated the Bane Act and violated Plaintiff Lisa Vargas’s substantive due process
   15 rights. The Plaintiff is seeking compensatory and punitive damages. The Plaintiff has
   16 the burden of proving these claims by a preponderance of the evidence.
   17         The Defendants deny the Plaintiff’s claims, and contend that the force that
   18 Deputies Rojas and Perez used against Anthony Vargas was reasonable, necessary,
   19 and lawful. Defendants also contend that their use of force was in lawful self-defense
   20 and/or defense of others, Mr. Vargas was comparatively negligent, and Plaintiff and
   21 Mr. Vargas failed to mitigate their damages. The defendants have the burden of proof
   22 on these counterclaims and affirmative defenses. The Defendants also dispute the
   23 nature and extent of the damages claimed by the Plaintiff.
   24         This trial is bifurcated into two phases meaning that as jurors, you will first
   25 only be presented evidence regarding liability in the first phase. Liability is the
   26 determination as to whether either Defendant committed the wrongs alleged by
   27 Plaintiff. You will have to render a verdict on liability against the Defendants and in
   28 favor of Plaintiff in any of the claims to proceed to the second phase. In the second
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                                JOINT STATEMENT OF THE CASE
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    1   phase, you will be presented with evidence concerning damages. Damages is the
    2   determination as to how much to compensate Plaintiff for any of the claims you find
    3   in her favor.
    4
        DATED: March 30, 2023                   GUIZAR, HENDERSON & CARRAZCO, LLP
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    6
    7                                           By:
                                                HUMBERTO GUIZAR
    8
                                                CHRISTIAN CONTRERAS1
    9                                           Attorneys for Plaintiff
   10
        Dated: March 30, 2023                   IVIE McNEILL WYATT
   11
                                                PURCELL & DIGGS
   12
                                         By:    /s/ Marina Samson
   13
                                                RICKEY IVIE
   14                                           MARINA SAMSON
                                                Attorneys for Defendant,
   15
                                                COUNTY OF LOS ANGELES, et.al.
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        1
   28     Pursuant to the Local Rules, I attest that all signatories to this document authorized
        the joint filing of this document.
                                              3
                                 JOINT STATEMENT OF THE CASE
